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     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK_____
     Percy, et al.,
                                         Plaintiffs,    MEMORANDUM & ORDER
                                                            20-cv-6131 (NGG)
                      -against-                          20-cv-6291 (NGG) (SJB)
     Oriska General Contracting, et al.,                 21-cv-1366 (NGG) (SJB)
                                                            21-cv-1421 (NGG)
                                       Defendants.
                                                        21-cv-1999 (NGG) (RLM)
     Hodge, et al.,
                                                         21-cv-2006 (NGG) (SJB)
                                         Plaintiffs,     21-cv-2009 (NGG) (SJB)
                      -against-                          21-cv-2010 (NGG) (SJB)
                                                         21-cv-2021 (NGG) (SJB)
     All American School Bus Corp., et al.,             21-cv-2022 (NGG) (ARL)
                                       Defendants.       21-cv-2024 (NGG) (SJB)
     Hodge, et al.,                                      21-cv-2025 (NGG) (SJB)
                                                         21-cv-2029 (NGG) (SJB)
                                         Plaintiffs,    21-cv-2030 (NGG) (AYS)
                      -against-                          21-cv-2031 (NGG) (SJB)
                                                         21-cv-2034 (NGG) (SJB)
     Cuomo, et al.,
                                                         21-cv-2035 (NGG) (SJB)
                                       Defendants.      21-cv-2039 (NGG) (RML)
     Oriska Corporation,                                 21-cv-2040 (NGG) (SJB)
                                                        21-cv-2045 (NGG) (VMS)
                                           Plaintiff,
                                                         21-cv-2050 (NGG) (SJB)
                      -against-                          21-cv-2175 (NGG) (SJB)
     Hodge, et al.,                                      21-cv-2182 (NGG) (SJB)
                                                         21-cv-2194 (NGG) (SJB)
                                       Defendants.       21-cv-2198 (NGG) (SJB)
     Oriska Corporation,                                 21-cv-2283 (NGG) (SJB)
                                           Plaintiff,    21-cv-2311 (NGG) (SJB)
                                                        21-cv-2313 (NGG) (RLM)
                      -against-                          21-cv-2314 (NGG) (SJB)
     Willoughby Rehabilitation and Health
     Care Center, LLC, et al.,
                                       Defendants.




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     Oriska Corporation,
                                          Plaintiff,
                    -against-
     Bayview Manor LLC, South Point Plaza, et
     al.,
                                     Defendants.

     Oriska Corporation,
                                          Plaintiff,
                    -against-
     Nassau Operating Co., LLC, et al.,
                                     Defendants.
     Oriska Corporation,
                                          Plaintiff,
                    -against-
     Garden Care Center, Inc., et al.,
                                     Defendants.
     Oriska Corporation,
                                          Plaintiff,
                    -against-
     Park Avenue Operating Co. LLC, et al.,
                                     Defendants.
     Oriska Corporation,
                                          Plaintiff,
                    -against-
     Parkview Care & Rehabilitation Center, et
     al.,
                                     Defendants.




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     Oriska Corporation,
                                         Plaintiff,
                    -against-
     Pinegrove Manor II, LLC,-Grace Plaza, et
     al.,
                                     Defendants.
     Oriska Corporation,
                                         Plaintiff,
                    -against-
     Townhouse Operating Co., LLC-
     Townhouse Center for Nursing, et al.,
                                     Defendants.
     Oriska Corporation,
                                         Plaintiff,
                    -against-
     Woodmere Rehabilitation and Health
     Care Center, Inc., et al.,
                                     Defendants.
      Oriska Corporation,
                                         Plaintiff,
                    -against-
     Brookhaven Rehabilitation and Health
     Care Center, LLC, et al.,
                                     Defendants.
     Oriska Corporation,
                                         Plaintiff,
                    -against-
     Little Neck Care Center, LLC, et al.,
                                     Defendants.




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     Oriska Corporation,
                                       Plaintiff,
                   -against-
     New Surfside Nursing Home, LLC-Caring
     Family Nursing & Rehab, et al.,
                                    Defendants.
     Oriska Corporation,
                                       Plaintiff,
                   -against-
     West Lawrence Care Center, LLC, et al.,
                                    Defendants.
     Oriska Corporation,
                                       Plaintiff,
                   -against-
     Avalon Gardens Rehabilitation & Health
     Care Center, LLC, et al.,
                                    Defendants.
     Oriska Corporation,
                                       Plaintiff,
                   -against-
     Golden Gate Rehabilitation and Health
     Care Center LLC, et al.,
                                    Defendants.
     Oriska Corporation,
                                       Plaintiff,
                   -against-
     North Sea Associates, LLC-The Hamptons
     Center, et al.,
                                    Defendants.




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     Percy, et al.,
                                          Plaintiffs,
                      -against-
     Children's Law Center, et al.,
                                        Defendants.
     Percy, et al.,                 Plaintiffs,
                      -against-
     D & D Metal Work Inc., et al.,
                                       Defendants.
     Percy, et al.,
                                          Plaintiffs,
                      -against-
     F & E Maintenance Inc, et al.,
                                       Defendants.
     Percy, et al.,
                                          Plaintiffs,
                      -against-
     I Grace Co, et al.,
                                       Defendants.
     Percy, et al.,
                                          Plaintiffs,
                      -against-
     U & I Mechanical Corporation, et al.,
                                       Defendants.




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     Percy, et al.,
                                         Plaintiffs,
                      -against-
     Manhattan Telecommunications
     Corporation, et al.,
                                       Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     S & E Azrlliant PC, et al.,
                                       Defendants.
     Percy, et al.,
                                         Plaintiffs,
                      -against-
     P & H Painting Inc., et al.,
                                       Defendants.
      Bay Park Center for Nursing &
      Rehabilitation, et al.,
                                         Plaintiffs,
                      -against-
     Bent Philipson, Avi Philipson, and
     Deborah Philipson,
                                       Defendants;
     Oriska Corporation,
                         Plaintiff-in-Intervention,
                      -against-
     Bay Park Center for Nursing &
     Rehabilitation, et al.,
                      Defendants-in-Intervention;




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     Donna Hodge, Annette Hall, Karen Grant
     Williams, and Alexi Arias,
              Class Defendants-in-Intervention;
     Bent Philipson, Avi Philipson, and
     Deborah Philipson,
       Lead Action Defendants-in-Intervention;
     Aaron Becher, et al.,
                Owner Operator Defendants-in-
                                Intervention;
     The Philipson Family Trust, et al.,
         Prohibited Transaction Defendants-in-
                                 Intervention;
     Andrew Cuomo, et al.,
                    State Officer Defendants-in-
                                   Intervention;
     Oriska Insurance Company,
                             Carrier Defendant-in-
                                     Intervention;
     Rashbi Management, Inc.,
                             Trust Defendants-in-
                                    Intervention.


            NICHOLAS G. GARAUFIS, United States District Judge.
            Pending before the court are 29 related lawsuits, which collec-
            tively name more than 8,773 defendants. Eighteen of these
            lawsuits (the “Removed Actions”) were originally filed in various
            New York State Supreme Courts and then coordinated and trans-
            ferred to New York Supreme Court, Oneida County for pre-trial
            purposes. They were removed to this court by purported class
            representative defendants (the “Class Representatives”) in each




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           action. Eleven of these lawsuits (the “Federal Actions”) were
           originally filed in federal court.
           For the reasons stated below, each of the Removed Actions is RE-
           MANDED to New York Supreme Court, Oneida County and each
           of the Federal Actions is DISMISSED with prejudice. Requests
           made by counsel in the Removed Actions for attorneys’ fees and
           costs are GRANTED. Attorney James M. Kernan, counsel for the
           Class Representatives, is ORDERED to show cause within two
           weeks of the date of this Order, in writing, as to why he should
           not be referred to the Disciplinary Committee for this District in
           connection with his conduct in these lawsuits.

           I.   PROCEDURAL BACKGROUND

                A. The Removed Actions
           The eighteen Removed Actions pending before this court 1 were
           initially filed in various New York State Supreme Courts. Oriska


           1 Oriska
                       Corp. v. Hodge, et al., 21-cv-01999 (NGG); Oriska Corp. v.
           Willoughby Rehab. and Health Care Ctr., LLC, et al., 21-cv-02006 (NGG);
           Oriska Corp. v. Brookhaven Rehab. and Health Care Ctr., LLC, et al., 21-cv-
           02031 (NGG); Oriska Corp. v. Little Neck Care Ctr., LLC, et al., 21-cv-02034
           (NGG); Oriska Corp. v. New Surfside Nursing Home, LLC-Caring Family
           Nursing & Rehab., et al., 21-cv-02035 (NGG); Oriska Corp. v. West Lawrence
           Care Ctr., LLC, et al., 21-cv-02039 (NGG); Oriska Corp. v. Golden Gate Re-
           hab. and Health Care Ctr. LLC, et al., 21-cv-02045 (NGG); Bay Park Ctr. for
           Nursing & Rehab. LLC, et al., v. Philipson, et al., 20-cv-06291 (NGG); Oriska
           Corp. v. Bayview Manor LLC, - South Point Plaza, et al., 21-cv-02009 (NGG);
           Oriska Corp. v. Garden Care Ctr., Inc., et al., 21-cv-02010 (NGG); Oriska
           Corp. v. Nassau Operating Co, LLC, et al., 21-cv-02021 (NGG); Oriska Corp.
           v. Park Ave. Operating Co. LLC, et al., 21-cv-02022 (NGG); Oriska Corp. v.
           Parkview Care & Rehab. Ctr., et al., 21-cv-02024 (NGG); Oriska Corp. v.
           Pinegrove Manor II, LLC,-Grace Plaza, et al., 21-cv-02025 (NGG); Oriska
           Corp. v. Townhouse Operating Co., LLC-Townhouse Ctr. for Nursing et al.,
           21-cv-02029 (NGG); Oriska Corp. v. Woodmere Rehab. and Health Care
           Ctr., Inc., et al., 21-cv-02030 (NGG); Oriska Corp. v. Avalon Gardens Rehab.
           & Health Care Ctr., LLC et al., 21-cv-02040 (NGG); Oriska Corp. v. North
           Sea Associates, LLC-The Hamptons Ctr., et al., 21-cv-02050 (NGG).




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           Corporation (“Oriska”), an insurance company located in Oneida
           County in the Northern District of New York, is the plaintiff in
           seventeen of the eighteen Removed Actions. Oriska originally
           brought those and other related actions in Bronx, Kings, Nassau,
           Rensselaer, Richmond, Schenectady, Suffolk, and Westchester
           Counties against, inter alia, various healthcare and rehabilitation
           employer defendants (the “Healthcare Employers”). (See Oriska
           Corp. v. West Lawrence Care Ctr., 21-cv-2039, Coordination Order
           (Dkt. 8-6) at 2-3; App’x A.) These Removed Actions are share-
           holder derivative suits seeking reimbursement of unpaid
           insurance premiums allegedly owed to Oriska’s former subsidi-
           ary, Oriska Insurance Corporation. Id. at 2. In the state court
           proceedings, the Employer Defendants disputed Oriska’s claims
           and argued that “most, if not all, of the plaintiff’s causes of action
           have already been adjudicated when similar claims were litigated
           by Oriska Insurance Company in the Supreme Court of Oneida
           County by Justice Patrick F. MacRae.” Id. at 3.
           Oriska moved to consolidate the cases in either Nassau or Kings
           County. Id. The Healthcare Employers agreed that consolidation
           was necessary but argued that they should be moved to Oneida
           County, where Oriska was located and where Oriska Insurance
           Company’s prior claims had been adjudicated. Id. The New York
           State Litigation Coordination panel agreed with the Healthcare
           Employers and, on April 30, 2020, the panel entered an order
           coordinating the actions and transferring them to Oneida County
           for pre-trial purposes pursuant to the Uniform Rules for New
           York State Trial Courts § 202.69. Id. at 4. The Coordination Order
           advised the parties that, after pre-trial discovery and decisions on
           any summary judgment motions, the plaintiff could choose to
           have a trial for each action in the county where it was originally
           filed. Id.




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           Around that time, Oriska purports to have amended its state
           court complaints in these seventeen Removed Actions to add fed-
           eral causes of action and to include putative class representatives
           Annette Hall, Karen Grant Williams, Donna Hodge, Alexi Arias,
           and Albert E. Percy (the “Class Representatives”) as additional
           defendants. (See, e.g., Oriska v. North Sea Assocs., 21-cv-454, Am.
           State Court Compl. (Dkt. 1-2) (E.D.N.Y. Jan. 27, 2021).) The
           Class Representatives, who are represented by attorney James M.
           Kernan, then attempted to collectively remove the seventeen ac-
           tions to this court under one docket number, Oriska v. North Sea
           Assocs., 21-cv-454 (“North Sea”). On April 9, 2021, this court dis-
           missed North Sea as improperly filed. (North Sea, Apr. 9, 2021
           Order.) The Class Representatives then filed notices to individu-
           ally remove each of those seventeen state court actions to the
           Eastern District of New York.
           The eighteenth Removed Action was filed in New York Supreme
           Court, Nassau County (the “Nassau County Action”). The
           Healthcare Employers were the original plaintiffs in the Nassau
           County Action, and they brought various state law claims against
           individual defendants Bent Philipson, Avi Philipson, and Deborah
           Philipson. (Bay Park Ctr. for Nursing & Rehab., et al. v. Philipson,
           et al., 20-cv-6291 (“Bay Park Ctr.”), Compl. (Dkt. 9-3) ¶¶ 57-
           102.) Specifically, in their initial complaint, the Healthcare Em-
           ployers alleged that the Philipsons abused their fiduciary
           positions by engaging in a scheme to trick the Healthcare Em-
           ployers into paying premiums into a scam third-party insurance
           policy over the course of several years, promising them third-
           party insurance coverage that did not exist. (Id. ¶¶ 27-56.) The
           Healthcare Employer plaintiffs sought $53 million in damages
           plus declaratory relief. (Id. at 23-25.)
           The Healthcare Employer plaintiffs filed an amended complaint
           in the Nassau County Action on November 6, 2019. (Bay Park
           Ctr., Am. Compl. (Dkt. 9-4).) The amended complaint abandons




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           most, if not all, of the allegations from the initial complaint. It
           raises a single cause of action against the Philipsons for breach of
           contract, alleging that they failed to repay a $50,000 loan and
           seeking only the amount of the loan, plus interest and fees, in
           damages. (Id. ¶¶ 21-25.)
           On October 7, 2020, Oriska obtained leave to intervene as a
           plaintiff in the Nassau County Action. (Bay Park Ctr., Order (Dkt.
           9-6).) By that time, the Nassau County Action, along with the
           seventeen other Removed Actions, had been transferred to
           Oneida County for pre-trial coordination. (Bay Park Ctr., Nassau
           Cnty. Dkt. (Dkt. 38-2) at ECF p. 3.) Then, on December 28, 2020,
           Oriska filed an amended complaint in intervention, asserting 20
           causes of action against more than 400 defendants-in-interven-
           tion, including the Class Representatives and the Healthcare
           Employers. 2 (Bay Park Ctr., Am. Compl. in Intervention
           (“Amended Intervention Complaint”) (Dkt. 9-7) ¶¶ 211-343.)
           On December 29, 2020, the Class Representatives removed the
           Nassau County Action to this court on the basis of federal ques-
           tion jurisdiction pursuant to 28 U.S.C. § 1331, asserting that the
           Employee Retirement Income Security Act (“ERISA”), 29 U.S.C.
           § 1001 et seq., completely preempts the claims raised in the
           Amended Intervention Complaint. (Bay Park Ctr., Not. of Re-
           moval (Dkt. 1) ¶ 6.)




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            The proposed amended complaint in intervention asserted only state law
           causes of action. The parties dispute whether Oriska Corporation ever filed
           an initial proposed intervention complaint prior to filing its amended one.
           Because it is not pertinent to the issues at hand, this court declines to ad-
           dress this disputed issue.




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                B. The Federal Actions
           Also pending are the eleven Federal Actions that were originally
           filed in federal court.3 The plaintiffs in the Federal Actions in-
           clude the same Class Representatives who were added as
           defendants in each of the Removed Actions and who removed
           those actions to federal court. Attorney Kernan represents the
           Class Representatives in both the Federal Actions and the Re-
           moved Actions.
           Kernan, on behalf of the Class Representatives, purports to have
           named at least 8,773 defendants in the Federal Actions. (See
           D&D Metal Work Inc., 21-cv-2182, Compl. (Dkt. 1) ¶ 26 (assert-
           ing that there are 8,773 defendants identified in some of the
           Federal Actions); see also Oriska Corp. Gen. Contracting, 20-cv-
           6131, List of Defendants (Dkt. 140) (submitting a 64-page, sin-
           gle-spaced list of defendants).) The court’s ECF filing system caps
           the number of defendants that may be listed per ECF entry, and
           in an apparent attempt to evade those limits, Kernan has filed
           hundreds, if not thousands, of ECF entries, each listing a subset
           of the defendants. (See, e.g., Percy v. Oriska Corp. Gen. Contract-
           ing, 20-cv-6131 (Dkt. Nos. 28-58, 60-62, 64-66, 68, 70-86, 88-
           89, 92-93, 97-128, 135-146). None of the complaints explains
           the individual significance of any of these named defendants or
           discusses how or why they were identified.



           3 See Percy, et al., v. Oriska Corp. Gen. Contracting, et al., 20-cv-06131

           (NGG); Hodge, et al. v. All Am. Sch. Bus Corp., et al, 21-cv-01366 (NGG);
           Hodge, et al., v. Cuomo, et al., 21-cv-01421 (NGG); Percy, et al., v. Children’s
           Law Ctr., et al., 21-cv-02175 (NGG); Percy, et al., v. D & D Metal Work Inc.,
           et al., 21-cv-02182 (NGG); Percy, et al., v. F & E Maint. Inc., et al., 21-cv-
           02194 (NGG); Percy, et al., v. I Grace Co., et al., 21-cv-02198 (NGG); Percy,
           et al., v. U & I Mech. Corp., 21-cv-02283 (NGG); Percy, et al., v. Manhattan
           Telecomm’s Corp., et al., 21-cv-02311 (NGG); Percy, et al., v. S & E Azrlliant
           PC, et al., 21-cv-02313 (NGG); Percy, et al., v. P & H Painting Inc., et al., 21-
           cv-02314 (NGG).




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           All eleven Federal Actions assert identical or substantially similar
           claims. In sum, each lawsuit focuses on an “Alternative Employ-
           ment Practice” apprenticeship program that the Class
           Representatives want covered by workers’ compensation insur-
           ance, which they refer to as the “Percy Plan” or “Program” or
           “Solution.” (See, e.g., Oriska Corp. Gen. Contracting, 20-cv-6131,
           Compl. ¶¶ 3-5.) This workers’ compensation program appears to
           have been created by Oriska’s former subsidiary, the Oriska In-
           surance Company or, at least, is beneficial to it because Oriska is
           the provider of the program. The Class Representatives claim that
           the defendants’ failure to adopt the program violated their rights
           under 18 U.S.C. § 2000e-2(k)(1). (Id.) They seek injunctive and
           declaratory relief; damages for lost wages, benefits, and oppor-
           tunities; and liquidated damages, plus pre- and post-judgment
           interest and attorneys’ fees, expert fees, costs, and disburse-
           ments. (See id. at 13-14.)

           II. HISTORY OF DISCIPLINARY PROCEEDINGS AGAINST
               CLASS REPRESENTATIVES’ COUNSEL

           Kernan’s disciplinary history is also relevant to the procedural
           and substantive issues before this court. In 2009, Kernan was
           charged with a fifteen-count federal indictment in the Northern
           District of New York. At the time, he was the owner and president
           of Oriska’s subsidiary, Oriska Insurance Company, located in
           Oriskany, New York. See United States v. Kernan, No. 5:08-CR-61
           (FJS), 2009 WL 667432, at *1 (N.D.N.Y. Mar. 11, 2009). The
           charges concerned Kernan’s participation, along with Robert J.
           “Skip” Anderson, a three-time convicted felon, in a scheme to de-
           fraud several professional employer organizations (“PEOs”).
           More specifically, Kernan and Anderson were charged with
           falsely representing that Oriska Insurance Company was author-
           ized to (1) issue high deductible workers’ compensation




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           insurance policies in New York and (2) issue workers’ compen-
           sation policies outside of New York, when, in fact, it was not
           authorized to do either of those things. Id. at *6.
           On March 20, 2009, Kernan pleaded guilty to one count of know-
           ingly permitting a convicted felon to be involved in the business
           of insurance, a felony in violation of 18 U.S.C. § 1033(e)(1)(B).
           (See United States v. Kernan, N.D.N.Y. 08-cr-61 (“U.S. v.
           Kernan”), Mar. 20, 2009 Minute Entry); U.S. v. Kernan, Plea
           Agreement (Dkt. 82); U.S. v. Kernan, Change-of-Plea Hr’g Tr.
           (Dkt. 84).) He was sentenced to five years of probation and the
           court imposed a $250,000 fine, a $100 special assessment, and
           400 hours of community service. (U.S. v. Kernan, Judgment (Dkt.
           103).)
           After his conviction, Kernan asked the New York State Depart-
           ment of Financial Services (“NYSDFS”) for permission to engage
           in the business of insurance in New York again. See Oriska Ins.
           Co. v. Avalon Gardens Rehab. & Health Care Ctr., LLC, No. 18-cv-
           1030 (DNH/DEP), 2018 WL 6074693, at *3 (N.D.N.Y. Nov. 21,
           2018). On May 26, 2011, the NYSDFS issued a preliminary de-
           nial. Id. It then held a hearing in late 2011 to consider “(1)
           whether Attorney Kernan ‘demonstrated untrustworthiness’
           within the meaning of section 1506(c)(1)(A) of the New York
           Insurance Law, such that he should be prohibited from acting ‘as
           a controlling person’ of Oriska; and (2) whether the preliminary
           denial of Attorney Kernan’s application for consent pursuant to
           18 U.S.C. § 1033(e)(2) should be made final on the grounds that
           he demonstrated untrustworthiness or incompetency.” Id. at *4. 4
           Based on that hearing, the NYSDFS Hearing Officer submitted a
           recommendation that the Superintendent of the NYSDFS deny
           Kernan’s request to engage in the business of insurance and “is-
           sue an order pursuant to Insurance Law § 1506(c)(1)(A) finding

           4 When quoting cases, and unless otherwise noted, all citations and quota-

           tion marks are omitted, and all alterations are adopted.




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           that [] Kernan, as a controlling person of Oriska Insurance Com-
           pany, has demonstrated his untrustworthiness” and “directing []
           Kernan to terminate his ownership capacity at Oriska Insurance
           Company, including but not limited to providing legal or engi-
           neering services, or insurance agency services, by himself or by
           any member of his family or relative, directly or indirectly, to
           Oriska.” Id. The Superintendent issued a final determination and
           order adopting the hearing officer’s recommendation. Id. (citing
           N.D.N.Y. 18-cv-1030, Dkt. No. 47-4 at 3-4). Despite these re-
           strictions, Kernan went on to represent Oriska in a subsequent
           insurance action in the Northern District of New York. Id. The
           court terminated his representation in that action on the grounds
           that he had violated both provisions of the NYSDFS’s order. Id. at
           *7-9.
           The Appellate Division of the New York Supreme Court, Fourth
           Department, suspended Kernan from the practice of law in New
           York for a period of five years following his felony conviction or
           until the termination of his federal term of probation, whichever
           was longer. In re Kernan, 66 A.D.3d 1497, 1497 (4th Dep’t 2009)
           (initial order of suspension); In re Kernan, 73 A.D.3d 219, 220
           (4th Dep’t 2010) (final order of suspension). In reaching its con-
           clusion, the Fourth Department considered the fact that Kernan’s
           “misconduct was willful and appears to have been committed for
           personal gain, and that respondent has failed to express remorse
           for his misconduct.” 73 A.D.3d at 220. The Fourth Department
           reinstated Kernan on June 12, 2015. See In re Kernan, 129 A.D.3d
           1556, 1556 (4th Dep’t 2015).
           Kernan was reinstated to practice law in the Eastern District of
           New York around the same time. (In re Kernan, 10-mc-351, Or-
           der Reinstating Kernan (Dkt. 3).) The Eastern District of New
           York then disbarred him again, after he was directed by ECF or-
           der on two separate occasions to provide the court with proof of
           his admission to practice law and failed to do so. (In re Kernan,




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           10-mc-351, Order (Dkt. 5); Nov. 7, 2018 ECF Order; Order (Dkt.
           6).) Almost two years later, in August 2020, Kernan submitted a
           request for reconsideration. (In re Kernan, 10-mc-351, Mot. for
           Reconsideration (Dkt. 7).) He was readmitted to the District on
           August 25, 2020. (In re Kernan, 10-mc-351, Aug. 25, 2020 ECF
           Order.)
           Kernan also applied for readmission to the Northern District of
           New York. The Northern District revoked his admission after ini-
           tially accidentally readmitting him, and he challenged the
           revocation in the Second Circuit. In re Kernan, 783 F. App’x 106
           (2d Cir. 2019). He was represented in that litigation by attorney
           Frank Policelli, who is counsel for Oriska in the 29 pending ac-
           tions before this court. See id. Kernan ultimately withdrew his
           appeal, and it does not appear that he has been reinstated in the
           Northern District of New York.

           III. REMAND OF THE REMOVED ACTIONS
               A. Legal Standard
           A defendant may remove an action from state court to federal
           district court if the latter court has original jurisdiction, 28 U.S.C.
           § 1441(a), and if the applicable procedural requirements are sat-
           isfied, 28 U.S.C. § 1446. “The right of removal is entirely a
           creature of statutes and . . . [the] statutory procedures for re-
           moval are to be strictly construed.” Syngenta Crop Protection, Inc.
           v. Henson, 537 U.S. 28, 32 (2002). “In light of the congressional
           intent to restrict federal court jurisdiction, as well as the im-
           portance of preserving the independence of state governments,
           federal courts . . . resolv[e] any doubts against removability.”
           Lupo v. Human Affairs Int’l, Inc., 28 F.3d 269, 274 (2d Cir.1994)
           (citing Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 108
           (1941)). On a motion to remand to state court, “the burden falls
           squarely upon the removing party to establish its right to a fed-
           eral forum by competent proof.” R.G. Barry Corp. v. Mushroom




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           Makers, Inc., 612 F.2d 651, 655 (2d Cir. 1979). To carry its bur-
           den, the removing party must “demonstrate[e] both the
           existence of subject-matter jurisdiction and compliance with the
           relevant procedural requirements.” St. Vincent’s Hosp. of Staten
           Island v. Taylor, No. 07-cv-967 (ILG) (JO), 2007 WL 2325073, at
           *2 (E.D.N.Y. Aug. 10, 2007). “If the removing party cannot
           demonstrate federal jurisdiction by competent proof, the removal
           was in error and the district court must remand the case to the
           court in which it was filed.” Hill v. Delta Int’l Mach. Corp., 386 F.
           Supp. 2d 427, 429 (S.D.N.Y. 2005).

               B. Discussion
           The Healthcare Employer defendants seek to remand the eight-
           een Removed Cases. 5 6 They argue that remand is necessary
           because the Class Defendants violated the rule of unanimity, one
           of the procedural requirements for removal; because the Class
           Representatives attempted to remove the actions to an improper
           federal venue; and because the operative complaints do not pro-
           vide a basis for federal jurisdiction. (See, e.g., Oriska v. Avalon,
           21-cv-2040, Mem. in Support of Mot. to Remand (Dkt. 8-1) at 1-
           2.)7


           5 Individual defendant Ira Lipsius also seeks remand. See Bay Park Ctr. For

           Nursing & Rehab., 20-cv-6291, Mot. to Remand (Dkt. 9) (E.D.N.Y. Jan. 19,
           2021).
           6 At the time of publication, these defendants have either moved to remand

           or requested leave to do so in each of the Removed Actions. Because of the
           redundancies among the cases, and in the interests of judicial efficiency
           and economy, this court decides the remand issue sua sponte in the cases
           where it has not yet been briefed. See Link v. Wabash R.R. Co., 370 U.S.
           626, 630-31 (1962) (District courts have the inherent authority “to man-
           age their own affairs so as to achieve the orderly and expeditious
           disposition of cases”.).
           7 In certain actions, the remanding parties additionally argue that removal

           was untimely. (See, e.g., Oriska v. Hodge, 21-cv-1999, Mem. in Support of




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                    1. The Rule of Unanimity
           A removing party must obtain the consent of all “properly joined
           and served” defendants for a federal court to exercise jurisdiction
           over the action. Williams v. Connell, No. 12-cv-3593 (SLT), 2017
           WL 2829686, at *3 (E.D.N.Y. June 29, 2017), quoting 28 U.S.C.
           § 1446(b)(2)(A). This rule of unanimity is “strictly interpreted
           and enforced.” Burr ex rel. Burr v. Toyota Motor Credit Co., 478
           F. Supp. 2d 432, 437 (S.D.N.Y. 2006). If it is not satisfied, then
           “the petition is defective and the case must be remanded.”
           Snakepit Auto., Inc. v. Superperformance Int’l, LLC, 489 F. Supp.
           2d 196, 201 (E.D.N.Y. 2007). The rule of unanimity “advances
           the congressional purpose of giving deference to a plaintiff’s
           choice of a state forum and of resolving doubts against removal
           in favor of remand.” Bedminster Fin. Grp., Ltd. v. Umami Sustain-
           able Seafood, Inc., No. 12-cv-5557 (JPO), 2013 WL 1234958, at
           *5 (S.D.N.Y. Mar. 26, 2013).
           There are three exceptions to the rule of unanimity. Id. at *6. “A
           party asserting proper removal may raise an exception to the
           unanimity rule when: (1) the non-joining defendants have not
           been served with service of process at the time the removal peti-
           tion is filed; (2) the non-joining defendants are merely nominal
           or formal parties; or (3) the removed claim is a separate and in-
           dependent claim as defined by 28 U.S.C. § 1441(c).” Snakepit
           Automotive, 489 F. Supp. 2d at 201-02.
           In the Nassau County Action, where Oriska is a party via inter-
           vention, Oriska and the Class Representatives contend that the
           service exception to the rule of unanimity applies and is satisfied
           here. (See Bay Park Ctr. for Nursing & Rehab., 20-cv-6291, Class
           Representatives’ Opp. to Remand (“Class Opp.”) (Dkt. 40) at 7;
           Oriska Opp. to Remand (“Oriska Opp.”) (Dkt. 38) at 11.) They


           Mot. to Remand (Dkt. 10-1) at 8-9.) Given the other independent grounds
           for remand, the court declines to address that question.




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           assert that the Class Representatives were not required to obtain
           the Healthcare Employers’ consent because the Healthcare Em-
           ployers were not served with the Amended Intervention
           Complaint prior to removal of the action. Id.
           Oriska and the Class Representatives are incorrect. Federal courts
           “consistently look to state law to determine whether a defendant
           was properly served when evaluating procedural challenges to a
           Defendant’s removal.” Williams, 2017 WL 2829686, at *4. New
           York law permits service via e-filing on parties who have already
           appeared in the action. See N.Y. C.P.L.R. §§ 3012(a), 2103(b)(7);
           N.Y. Comp. Codes R. & Regs. tit. 22, § 202.5-b(f)(2)(ii) (“An e-
           filing party causes service of an interlocutory document to be
           made upon another party participating in e-filing by filing the
           document electronically.”). The Healthcare Employers are the
           original plaintiffs in the Nassau County Action, who appeared in
           this action at its outset and have participated in e-filing through-
           out. (See Bay Park Ctr., 21-cv-6291, State Court Docket Sheet
           (“State Court Docket”) (Dkt. 30-1).) Under New York law, they
           were deemed served with the Amended Intervention Complaint
           when it was e-filed on December 28, 2020. (Id. at 3.) Similarly,
           the Employer Defendants are the original defendants in the re-
           maining seventeen Removed Actions, and they have participated
           in e-filing in state court throughout those actions. The rule of
           unanimity therefore required the Class Representatives to obtain
           their consent for removal in all eighteen Removed Actions, which
           they did not do.
           Failure to satisfy the rule of unanimity is a procedural defect that
           requires remand of the Removed Actions to state court. See St.
           Vincent’s Hosp., 2007 WL 2325073, at *2. While remand is war-
           ranted on that basis alone, the court additionally addresses the
           arguments regarding venue and jurisdiction because of their rel-
           evance to the issues of attorneys’ fees and potential attorney
           misconduct.




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                    2. Improper Venue
           The Class Representatives contend that the Eastern District of
           New York is not the proper venue for the Removed Actions. The
           actions were coordinated in Oneida County for pre-trial pur-
           poses, and Oriska was granted permission to try the cases in the
           counties in which they were originally filed. (See, e.g., Bay Park
           Ctr., 20-cv-6291, State Court Docket at 3 (entering an order to
           transfer venue on September 30, 2020).) At the time of removal,
           the cases remained in the pre-trial stage in Oneida County and
           had not been returned to their original counties for trial. Thus,
           the Class Representatives were required to file any notice of re-
           moval in the Northern District of New York, where Oneida
           County is situated. See 28 U.S.C. § 1446(a) (requiring a removing
           defendant to file the notice of removal “in the district court of the
           United States for the district and division within which such ac-
           tion is pending”). It is notable that Kernan, their counsel, has
           been disbarred from the Northern District and that he was read-
           mitted to the Eastern District only a few months prior to
           attempting to remove these actions to this District. These circum-
           stances suggest that his removal to an improper venue may have
           been a willful attempt to avoid the Northern District, where he
           cannot practice law. In any event, remand of the Removed Ac-
           tions is warranted because the Class Representatives attempted
           to remove them to an improper federal venue.

                    3. Federal Jurisdiction
           The parties seeking remand also argue that the federal district
           court does not have jurisdiction over the eighteen Removed Ac-
           tions because the operative complaints do not raise any federal
           causes of action. The parties seeking to remand the Nassau
           County Action are correct. Based on the parties’ submissions, the
           court lacks sufficient information to reach a conclusion as to its
           jurisdiction over the other seventeen Removed Actions.




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           “Only state-court actions that originally could have been filed in
           federal court may be removed to federal court.” Caterpillar. Inc.
           v. Williams, 482 U.S. 386, 392 (1987). For removal based on fed-
           eral question jurisdiction pursuant to 28 U.S.C. § 1331,
           “jurisdiction exists only when the plaintiff’s own cause of action
           is based on federal law as demonstrated on the face of a well-
           pleaded complaint.” Arrow Financial Servs. LLC v. Massil, No. 08-
           cv-437 (NGG), 2009 WL 348553, at *2 (E.D.N.Y. Feb. 11, 2009).
           Because of this principle, courts routinely reject removal attempts
           made by third-party and intervenor litigants. See, e.g., Arrow Fin.
           Servs., 2009 WL 348553, at *2 (“It is clear . . . that the jurisdiction
           of the district court over the claims of the plaintiffs is not en-
           hanced by third party complaints.”); Childs v. Valente, No. 1:07-
           cv-18, 2007 WL 805820, at *1 (D. Vt. Mar. 15, 2007) (explaining
           that the intervenor litigant’s argument for removal “runs counter
           to substantial case law holding removal may not be predicated
           on an intervening petition or complaint”).
           The complete preemption doctrine is a corollary to the well-
           pleaded complaint rule. Caterpillar Inc., 482 U.S. at 393. This
           doctrine provides that an action may not be removed on the basis
           of a federal defense, including a preemption defense, unless fed-
           eral law completely preempts the relevant area of state law. Id.
           This doctrine authorizes removal in a limited set of circum-
           stances, including when state law claims are completely
           preempted by Section 502 of ERISA. See Aetna Health Inc. v.
           Davila, 542 U.S. 200, 204 (2004). Oriska and the Class Repre-
           sentatives contend that removal is proper under the complete
           preemption doctrine based on the claims in the original state
           court complaint, which they argue is an artfully pleaded attempt
           to recover $53 million in fund benefits governed by ERISA. (See
           Class Opp. at 8-12.)
           This court does not have jurisdiction over the removed Nassau
           County Action. The operative Amended Complaint asserts only




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           one state law cause of action for breach of contract, which is not
           preempted by federal law, and the voluntariness principal bars
           removal by parties introduced through intervention. (See Nassau
           County Action, 21-cv-6291, Am. Compl. (Dkt. 9-4) ¶¶ 21-25.) To
           hold otherwise would deprive plaintiffs of their right to decide
           where to bring their lawsuit. See Great Northern Ry. Co. v. Alex-
           ander, 246 U.S. 276, 282 (1918). The apparent coordination
           between the intervenor and the defendants-in-intervention sug-
           gests a willful attempt to evade the plaintiffs’ choice of forum, in
           further violation of the principle that plaintiffs, by virtue of their
           well-pleaded complaints, determine the removability of their
           cases. See id.
           It is not clear from the parties’ submissions whether this court has
           jurisdiction over the claims raised in the remaining seventeen Re-
           moved Actions. Because the remand issue can be resolved on
           procedural grounds, the court declines to decide the jurisdic-
           tional question presented in those actions.

           IV. DISMISSAL OF THE FEDERAL ACTIONS

               A. Legal Standard
           District courts have the inherent authority “to manage their own
           affairs so as to achieve the orderly and expeditious disposition of
           cases.” Link v. Wabash R.R. Co., 370 U.S. 626, 630-31 (1962); see
           also Lewis v. Rawson, 564 F.3d 569, 575 (2d Cir. 2009). In addi-
           tion, Federal Rule of Civil Procedure 41(b) provides that a federal
           court may dismiss an action “[i]f the plaintiff fails to prosecute or
           to comply with [the Federal Rules of Civil Procedure] or a court
           order.” Smalls v. Cty. of Suffolk, 718 F. App’x 16, 19 (2d Cir.
           2017), quoting Fed. R. Civ. P. 41(b); see also Wright & Miller, 9
           Fed. Prac. & Proc. Civ. § 2369 (4th ed.) (“The district judge is
           vested with wide discretion in determining when dismissal is ap-
           propriate to enforce matters of docket management.”). A court
           may order dismissal sua sponte or on defendant’s motion. See




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           Link, 370 U.S. at 630-31. While dismissal is an appropriate rem-
           edy to avoid “undue delays in the disposition of pending cases
           and to avoid congestion in the calendars of the District Courts,”
           id. at 629-30, it is a “harsh remedy to be utilized only in extreme
           situations.” Minnette v. Time Warner, 997 F.2d 1023, 1027 (2d
           Cir. 1993).

               B. Discussion
           Kernan has filed eleven nearly-identical actions in this district
           against at least 8,773 defendants. The complaints provide gen-
           eral descriptions of the defendants as a class, but do not explain
           the significance of the specific defendants that are named. For
           example, the complaint in Percy v. D&D Metal Work Inc. makes
           the vague assertion that:
                Defendants are named individually and as representatives
               of a class of employers . . . to which the Plaintiff has demon-
               strated [the Percy Plan]. The Defendants are industry leaders
               identified as class representatives with the expectation that
               those industry leaders will protect the interests of the class,
               being employers to which the Plaintiff demonstrated the
               [Percy Plan] in an effort by the Plaintiff to persuade the spe-
               cifically identified Employer Defendants which number
               8,773.
           (21-cv-2182, Compl. (Dkt. 1) ¶ 26.) The apparently baseless
           identification of defendants suggests that there is no genuine
           connection between the allegations in the complaints and the
           thousands of defendants identified in the case captions. Without
           a legitimate foundation for naming such an extensive list of de-
           fendants, Kernan’s conduct appears to rise to the level of
           harassment against them, and at least one named defendant has
           contacted the court with concerns about being scammed. Fur-
           ther, his conduct has imposed a substantial and unnecessary
           burden on the court’s administrative procedures, its staff, and its




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           filing system. This harassing and burdensome conduct alone sup-
           ports dismissal of the Federal Actions pursuant to this court’s
           inherent authority to “achieve the orderly and expeditious dispo-
           sition of cases.” Link, 370 U.S. at 630-631.
           This conduct also satisfies the requirements for dismissal under
           Federal Rule of Civil Procedure 41(b) for failure to comply with
           a court order. The conditions of Kernan’s conviction and sentenc-
           ing by the Northern District of New York prohibit him from
           engaging in the business of insurance in any state unless pre-ap-
           proved to do so by the relevant state authority. See Oriska Ins. Co.
           v. Avalon Gardens Rehabilitation & Health Care Ctr., LLC, No. 18-
           cv-1030 (DNH/DEP), 2018 WL 6074693, at *3 (N.D.N.Y. Nov.
           21, 2018). In 2013, the NYSDFS entered a final order barring
           him from engaging in the business of insurance and from holding
           an interest in Oriska, specifically him from “providing legal or
           engineering services, or insurance agency services . . . directly or
           indirectly, to Oriska,” among other conduct. Id. at *4. He then
           attempted to represent Oriska in insurance litigation in the
           Northern District of New York and was disqualified from that lit-
           igation for violating the terms of the NYSDFS order. Id. at *9.
           Now, Kernan is again attempting to represent parties involved in
           litigation related to the business of insurance for the benefit of
           Oriska in both the Removed and Federal Actions. This conduct
           violates the terms of Kernan’s felony conviction and the orders of
           both the Northern District of New York and the NYSDFS.
           Accordingly, pursuant to this court’s inherent authority and Fed-
           eral Rule of Civil Procedure 41(b), the Federal Actions are
           dismissed with prejudice.

           V. ATTORNEYS’ FEES AND COSTS
               A. Legal Standard
           The Healthcare Employers and individual defendant Ira Lipsius
           seek attorneys’ fees and costs on the grounds that the removal




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           attempts were objectively unreasonable. “An order remanding
           [a] case may require payment of just costs and any actual ex-
           penses, including attorney fees, incurred as a result of the
           removal.” 28 U.S.C. § 1447(c). “The statute as a whole, particu-
           larly the reference that an order remanding the case ‘may require
           payment’ of costs and fees, affords a great deal of discretion and
           flexibility to the district courts in fashioning awards of costs and
           fees.” Morgan Guar. Trust Co. of New York v. Republic of Palau,
           971 F.2d 917, 924 (2d Cir. 1992). District courts may exercise
           this discretion to award attorneys’ fees where “the removing
           party lacked an objectively reasonable basis for seeking removal.”
           Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005).

               B. Discussion
           The Class Defendants did not have an objectively reasonable ba-
           sis for removal of the Nassau County Action. In Calabro v. Aniqa
           Halal Live Poultry Corp., 650 F.3d 163(2d Cir. 2011), the Second
           Circuit affirmed an attorneys’ fee award following a removal at-
           tempt that was predicated on federal claims raised in a third-
           party complaint in violation of the well-pleaded complaint doc-
           trine. As the basis for its conclusion that the removal attempt was
           objectively unreasonable, the Second Circuit explained, “it is well
           established that a defendant may not evade [the well-pleaded
           complaint] rule by raising a federal question in its responsive
           pleadings and then attempting to remove on that basis.” Id. at
           166. Consistent with Calabro, the attempted removal of the Nas-
           sau County Action in violation of the well-pleaded complaint rule
           here supports the conclusion that removal was objectively unrea-
           sonable.
           The Class Defendants’ failure to comply with the rule of unanim-
           ity is evidence that their removal attempts of all eighteen
           Removed Actions were objectively unreasonable. See Sherman v.
           A.J. Pegno Constr. Corp., 528 F. Supp 2d 320, 331 (S.D.N.Y.




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           2007) (holding that it was objectively unreasonable for the re-
           moving party to knowingly disregard the rule of unanimity). The
           Healthcare Employers were original parties to all eighteen Re-
           moved Actions, and the Class Representatives knew or should
           have known the rules for service via e-filing on existing parties
           under New York law. Consistent with the holding in Sherman,
           their attempts to remove these actions without their co-defend-
           ants’ consent demonstrates that they lacked an objectively
           reasonable basis to do so.
           Further, the apparent coordination and potential misconduct of
           counsel indicate that removal of all eighteen Removed Actions to
           this court, rather than to the proper venue in the Northern Dis-
           trict of New York, was objectively unreasonable. As explained
           above, Kernan appears to have violated terms of his conviction
           by engaging in this insurance-related litigation. And his coordi-
           nation with Policelli, who was his former lawyer in disciplinary
           proceedings against him and the who is current lawyer for
           Oriska, suggests a willful attempt to evade the restriction on
           Kernan providing legal services to Oriska and to avoid litigation
           in a federal district where he was disbarred.
           For the reasons explained above, Kernan’s attempts on behalf of
           the Class Representatives to remove these actions were objec-
           tively unreasonable. The remanding parties are entitled to
           reasonable attorneys’ fees and costs. If the parties cannot agree
           on the amount to be reimbursed, the Healthcare Employers and
           Mr. Lipsius should submit a bill of costs and a fee application to
           this court.

           VI. CONCLUSION
           For the foregoing reasons, the Removed Actions are REMANDED
           to New York Supreme Court, Oneida County; the Federal Actions
           are DISMISSED with prejudice; requests made by counsel in the
           Removed Actions for attorneys’ fees and costs are GRANTED;




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               and Attorney Kernan, counsel for the Class Representatives, is
               ORDERED to show cause within two weeks of the date of this
               Order, in writing, as to why he should not be referred to the Dis-
               ciplinary Committee for this District in connection with his
               conduct in these matters.
               The Clerk of Court is respectfully directed to close the cases. 8


      SO ORDERED.


      Dated:       Brooklyn, New York
                   May 27, 2021

                                                                  _/s/ Nicholas G. Garaufis_
                                                                  NICHOLAS G. GARAUFIS
                                                                  United States District Judge




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                 While the case will otherwise be closed, this court “retains jurisdiction to
               decide a motion for fees and costs under 28 U.S.C. § 1447(c) after it has
               remanded a case to state court.” Calabro v. Aniqa Halal Live Poultry Corp.,
               09-cv-4859 (JG), 2009 WL 4893200 at *3 n.4 (E.D.N.Y. Dec. 15, 2009),
               citing Bryant v. Britt, 420 F.3d 161, 162 (2d Cir. 2005). It will also retain
               jurisdiction over Kernan’s submission concerning potential misconduct.




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